Case 1:23-cr-00100-DAE Document 88-4 Filed 06/18/24 Page 1 of 3




                EXHIBIT C
         Case 1:23-cr-00100-DAE Document 88-4 Filed 06/18/24 Page 2 of 3




From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Tuesday, May 14, 2024 3:46 PM
To: Latcovich, Simon <SLatcovich@wc.com>; Looby, Patrick <PLooby@wc.com>
Subject: FW: Paul Relativity Two Production

On the off chance that you have not already received it from Gerry, this is the large Relativity
file set.

From: Mercado, Rachel (USATXW) <RMercado@usa.doj.gov>
Sent: Tuesday, May 14, 2024 11:36 AM
To: egm@egmlaw.com
Cc: Buie, Alan (USATXW) <ABuie@usa.doj.gov>; Guess, Dan (USATXW)
<DGuess@usa.doj.gov>; Harding, Matt (USATXW) <MHarding@usa.doj.gov>; Mariah Anger
<mca@egmlaw.com>
Subject: Paul Relativity Two Production

Counsel,

Your device has been loaded with the load files for Relativity Part Two. Device has been
encrypted with pw 1TXW*usao!

Feel free to stop by at your earliest convenience. Thank you so much for your patience during
this long process!

Have a great day!

Rachel


Rachel Mercado | Litigation Support Specialist
U.S. Attorney’s Office | Western District of Texas
903 San Jacinto Blvd., Suite 334 | Austin, TX 78701
512.916.5858 | rachel.mercado@usdoj.gov
             Case 1:23-cr-00100-DAE Document 88-4 Filed 06/18/24 Page 3 of 3


                                                          United States Department of Justice

                                                          United States Attorney’s Office
                                                          Western District of Texas
Dan Guess                            903 San Jacinto, Suite 334
Assistant United States Attorney     Austin, Texas 78701



                                                          May 14, 2024

Gerry Morris, Esquire
The Law Office of E.G. Morris
505 West 12th Street, Suite 206
Austin, Texas 78701

Re: Relativity Two production in United States v. Natin Paul, No. A-23-CR-100-DAE

Dear Mr. Morris:

       Our staff have loaded onto your device the records that we have previously discussed
concerning this case. Included on the device are approximately 2.3TB of information.

       If you have any questions, please feel free to call me or AUSA Buie. If you or your co-
counsel would like a more thorough description of the materials listed above, I suggest we
schedule a time to look at the material together and discuss it, either in person or via WebEx.

                                                                  Sincerely,


                                                                  AUSA Dan Guess
